Case 8:21-cv-01550-MSS-AEP Document 17 Filed 08/27/21 Page 1 of 2 PageID 61




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
                      Case No. 8:21-cv-01550-MSS-AEP

DELROY A. CHAMBERS, JR.,

      Plaintiff,

v.

TOWN & COUNTRY REAL ESTATE
OF WINTER HAVEN, INC.,

      Defendant.
_________________________________/

                     JOINT NOTICE OF SETTLEMENT

      The Parties hereby gives notice to the Court that they have settled this

matter. The Parties respectfully request that they be relieved of all pending

deadlines and obligations. Plaintiff will file appropriate dismissal papers in

accordance with the terms of the settlement agreement.

Respectfully submitted,

 SOCIAL JUSTICE LAW                   COLE SCOTT KISSANE P.A.
 COLLECTIVE, PL                       Attorneys for Defendant
 Attorneys for Plaintiff              4301 W. Boy Scout Blvd., Ste. 400
 974 Howard Ave.,                     Tampa, FL 33607
 Dunedin, FL 34698                    Tel: (813) 289-9300
 Tel: (202) 709-5744                  Fax: (813) 286-2900
 Fax: (866) 893-0416
                                      BY: /s/ Scott H. Jackman
 BY: /s/ Shawn A. Heller              Scott H. Jackman, Esq.
 Shawn A. Heller, Esq.                Scott.jackman@csklegal.com
 shawn@sjlawcollective.com            Florida Bar No. 194522
Case 8:21-cv-01550-MSS-AEP Document 17 Filed 08/27/21 Page 2 of 2 PageID 62




 Florida Bar No. 46346
 Joshua A. Glickman, Esq.
 Josh@sjlawcollective.com
 Florida Bar No. 43994



                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the foregoing was electronically filed with the

Clerk of the Court using the CM/ECF system, on this 27th day of August, 2021,

which will send a notice of electronic filing to all attorneys of record.



                                              By: s/ Shawn A. Heller    .
                                                   Shawn A. Heller, Esq.
